Case 6:21-cv-00010-WWB-EJK Document 4 Filed 01/12/21 Page 1 of 6 PageID 14


                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

MICHELLE STRICKLAND,

                     Plaintiff,

v.                                                     Case No: 6:21-cv-10-Orl-78EJK

BEACHSIDE TAVERN LLC,

                     Defendant.


                                   RELATED CASE ORDER
                                  AND TRACK TWO NOTICE

       It is hereby ORDERED that, no later than fourteen (14) days from the date of this

Order, counsel and any pro se party shall comply with Local Rule 1.04(d), and shall file

and serve a certification as to whether the instant action should be designated as a similar

or successive case pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the

attached form NOTICE OF PENDENCY OF OTHER ACTIONS.

       It is FURTHER ORDERED that, in accordance with Local Rule 3.05, this action is

designated a Track Two case.           All parties must comply with the requirements

established in Local Rule 3.05 for Track Two cases.          Counsel are relieved of the

requirement to meet within sixty days after service of the complaint upon any defendant

and the need to prepare and file a Case Management Report. The Court is issuing a

scheduling order sua sponte. Plaintiff is responsible for serving a copy of this notice and

order with attachments upon each party no later than eleven days after appearance of

the party.

January 12, 2021
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Attachments: Notice of Pendency of Other Actions [mandatory form]
             Magistrate Judge Consent /Letter to Counsel
             Magistrate Judge Consent Form /Entire Case
             Magistrate Judge Consent /Specified Motions

Copies to:   All Counsel of Record
             All Pro Se Parties
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

MICHELLE STRICKLAND,

                       Plaintiff,

v.                                                        Case No: 6:21-cv-10-Orl-78EJK

BEACHSIDE TAVERN LLC,

                       Defendant.


                      NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action:

_____      IS          related to pending or closed civil or criminal case(s) previously filed
                       in this Court, or any other Federal or State court, or administrative
                       agency as indicated below:
                       _____________________________________________________
__
                       _____________________________________________________
__
                       _____________________________________________________
__
                       _____________________________________________________
__

_____ IS NOT           related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than fourteen days after appearance of the party.


Dated:

                                                        _____________________________
                                                         Counsel of Record or Pro Se Party
                                                                 [Address and Telephone]
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         Case 6:21-cv-00010-WWB-EJK Document 4 Filed 01/12/21 Page 5 of 6 PageID 18
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                   UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Middle District of Florida

                MICHELLE STRICKLAND                                     )
                              Plaintiff                                 )
                        v.                                              )     Civil Action No.        6:21-cv-10-Orl-78EJK
               BEACHSIDE TAVERN LLC                                     )
                            Defendant                                   )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

         Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-
trial proceedings.

           Parties’ printed names                              Signatures of parties or attorneys                        Dates




                                                             Reference Order
      IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all
proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P.
73.


Date:
                                                                                            District Judge’s signature




                                                                                             Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
        Case 6:21-cv-00010-WWB-EJK Document 4 Filed 01/12/21 Page 6 of 6 PageID 19
AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge




                                 UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Middle District of Florida

              MICHELLE STRICKLAND                                      )
                           Plaintiff                                   )
                      v.                                               )       Civil Action No. 6:21-cv-10-Orl-78EJK
             BEACHSIDE TAVERN LLC                                      )
                          Defendant                                    )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available
to conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent
to have a United States magistrate judge conduct any and all proceedings and enter a final order as to each
motion identified below (identify each motion by document number and title).

               Motions:




         Parties’ printed names                            Signatures of parties or attorneys                                Dates




                                                           Reference Order

      IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                   District Judge’s signature


                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
